Case 2:GB~UrAQ'©Qll@NJI©t\/t~nDoeomeiatv£€cotl§Ha€i>cGi?i/@Q£D&ELPaQe 1 Of 2 Page|D 40

 

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2.1=€11§01~4 REPRESENTED
Stallmgs, Darrel] -

 

V()UCHER NUMBE,R

 

 

3. MAG. DKT./DEF. NUMBER 4. DIST. DKT..'DEF. NUMBER

2:05-020213-002-,»\1

5. APPEALS DKT./DEF. NUMBER

6. OTHER DKT. WMEE¥ l"*“.' n ._

 

 

 

'i. iN cASEMATTEn or (case minn a. PAYMENTCATEGORY 9. TYPE PERSON REPRESENTED io. F.EP REsF.NTATiON Tvriz
U S ll [Seeln_structi% UL
. . v. Sta ings Felony Aduft Defendant Criminal eJ 29

 

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ll. OFFENSE(S) CH ARGED (Cite U.S. Code\ Tltlc & Sectioit)

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l) 21 841A=CD. F -- CONTROLLED SUBS'I`ANCE - SELL, DISTRIBU TE, OR DISPENSE

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12. §§'B(¥ll§lli`;\l'l"qSGN§ll)\‘ll)EkEg=Sint Name. M.l.. Lasl Name. including any sufTix)

SAMPSON, ROSS
605 POPLAR AVE
MEMPHIS TN 38105

Telephonc Nurnl:ier: (901) 575°9922

 

14. NAME AND MAILING ADDRESS OF I_,AW FIRM [only provide perinstructions)

 

 

13. COURT ORDER

0 Appo|ntiog Coui:isel

m F Suhs Fcir Federal Defender
l:] P 51th For Panel Artorney

Pr'ior Attorney's Niiriie:

LJLUU\, L" w

ij c cit-cimino W"'
13 lt Si.ibs For Relnisicd Attoriiey
l:l Y Stundby Cnunsel

 

_, Appointmcm Daie:

 

§ Beca use the above-named person represented has lestiiicd under oath or has
_iSt erwlse satisfied this court that lie or she (l) ia linani:ial|y unable to employ counsel and

(l) does not wish to waive counse|. and because the interests oi`justii:e so require. the
attorney whose name appears in ltem i2 is appointed/unpresent this person in this case,

or ` ,
g Other ($e[[nstruci|ons} "
Signaturc of Presidiog .ludli:ial Dliicer or By Order ofthe Court
07.’ l 1 .’7 (l{l §
Date ofOrder Nunc Prn`l`unc Date
Repayment or partial repayment ordered from the person represented for this service ai

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
  

 
 
 
 
 
 

    

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representet‘ion? m YES \:\ NO lf yes, give details on additional sheets.
l swear or affirm the truth or correctness of the above statements.

Siglialure ot'Alinrney:

time ot’appointment. I:I YES I:] NO
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ci.AIMED norms mount RE“EW

15. a. Arraignment and.'or Pleii

b. Bail and Detention Hearings

c. Motlon Hearings
l .
n d. Trial
C e. Sentencing Hearlngs
3 f. Revocatiori Hearings
:' g. Appeals Court

h. Other {Specify on additional sheets)

(Rnte per hour = $ ) TOTALS:
16. a. Interv|ews and Conferences
i.lio b. Obtaining and reviewing records
o c. Legal research and brief writing
(r: d. Trave! time
3 e. Investigatlv e and Other work cspe¢iry on additional omni '..
f
t (Rate per hour = $ ) TOTALS.'
l'i'. Travel Expenses (lodging, parking, meals, mileage, ete.)
18. Other Expenses (other than expert. transcripts, etc.)
19. CERTlFlCA'HON OF ATTORNEY!PAYEE FOR THE PERIOD 0 F SERV'ICE, 20. APPO[NTMENT TERMINAT]ON DA'|‘£ 21. CASE DISPO SlTION
iF comm THAN case CoMPLETioN
FROM TO
22. C LAIM STATUS l:\ Fi¢ial Paymem I:I lnterim Paymeiit Number m Supp|emental Paymeut
Hiwe you prevlously applied to the court l'ir compensation anit.'or remlmhursemciix t`or this cnse'.’ ll YES D NO lt`yee, were you paid'.' l:] YES I:l NO

Oiller than from the court, have you, or toyniir knowledge has anyone else, received payment (coriipensaiion or anything or value] from any other source in connection with this

 

 
 

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SIGNATURE OF CllIEF .IUDGE, COURT OF APP EALS (OR DELEGATE) Paymeiit

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23_ SIGNATURE C|F THE PRESIDINC .IUDICIAL OFFlCER DATE ZSa. .lUDGE l MAG. JUDGE CODE
29. [N COURT COMF. 30. OUT OF COURT COMP. 31. TRAVEL EXPENSES 32. OTHER EXPENSES 33. TC|TAL AMT. APPROVED
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with Hu|e 55 and,'or 32(b) FFlCrP on w 'U\_J

 

   

UNITED sTATE DISTRIC COUR - WTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 26 in
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Honorablc J on McCalla
US DISTRICT COURT

